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                   IN THE UNITED STATES DISTRICT COURT
                  OF THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


                                             )
      ALICIA STEELE,                           Civil Action No. 1:17-CV-1368
                                             )
                                             )
                          Plaintiff,         )
                                             )
            v.                               )
                                             )
      CREDIT COLLECTION                        COMPLAINT
                                             ) JURY TRIAL DEMANDED
      SERIVCES, INC. ; DOES1-10,             )
      inclusive,                             )
                                             )
                          Defendants.




                            PRELIMINARY STATEMENT

          This action for damages is based on Defendant’s repeated and

    unauthorized collection attempts Plaintiff. Plaintiff seeks monetary relief based

    on Defendant’s violations of the Fair Debt Collection Practices Act (“FDCPA”)

    15 U.S.C. § 1692, et seq., and the Georgia Fair Business Practices Act, O.C.G.A.

    by the Defendant and its agents in their illegal efforts to collect a consumer debt.




	
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                                       PARTIES

    1.    Plaintiff, Alicia, is a natural person who resides in Fulton County,

    Georgia.

    2.    Plaintiff is allegedly obligated to pay a debt and is therefore a “consumer”

    as the term is defined by 15 U.S.C. § 1692a(3).

    3.    Defendant, Credit Collection Service, Inc. (hereinafter “CCS”) is a

    Massachusetts Corporation, not registered with the Georgia Secretary as a

    Foreign Corporation or otherwise. (Ex. 1).

    4.    Defendant uses interstate commerce or mail in business the principal

    purpose of which is the collection of any debts and/or regularly collects or

    attempts to collect, directly or indirectly, debts owed or due to asserted to be

    owned or due another and is therefore a “debt collector” as that term is defined

    by U.S.C. § 1692a(6). ( Ex. 2).

    5.    Does 1-10 (the “Collectors”) are individual collectors or employees of

    CCS and whose identities are currently unknown to the Plaintiff. One or

    more of the collectors may be joined as parties once their identities are disclosed

    through discovery.




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    6.    CCS at all times acted by and through one or more of the collectors or

    contracted entities.

                               JURISDICTION AND VENUE

    7.    Because this case arises under the Fair Debt Collection Practices Act, 15

    U.S.C. § 1692 et seq., jurisdiction of this Court arises under 28 U.S.C. § 1331,

    and supplemental jurisdiction for state law claims arises under 28 U.S.C. § 1367.

    8.    Venue us proper in this Court because a substantial part of the claim arose

    in Georgia, and Defendants “reside” in Georgia, as that term is used in 28 U.S.C.

    § 1391.

    9.    Pursuant to LR 3.1B(3), NDGA venue is proper in the Atlanta Division

    because the conduct complained of herein occurred in Fulton County, Which is

    in the Atlanta Division.

                   ALLEGATIONS APPLICABLE TO ALL COUNTS

          A. THE DEBT

    10.   The Plaintiff allegedly incurred a financial obligation (the “Debt”) to in

    original creditor (the “Creditor”).

    11.   That arose from services provided by the original creditor, which are




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    primarily for family, personal or household purposes, which meet the definition

    of a “debt”, under 15 U.S.C. § 1692a(5).

    12.    The debt was purchased, assigned or transferred to Empire for collection,

    or Empire Collection was employed by the creditor to collect the debt.

    13.    The Defendant attempted to collect the debt, as such,

    engaged in “communications” as defined in 15 U.S.C. §1692a(2).

           B. CREDIT COLLECTION SERVICES ENGAGES IN
           HARASSMENT AND ABUSIVE TACTICS

    14.    On September 16, 2017 Ms. Alicia Steele (“Ms. Steele”), Plaintiff,

    allegedly incurred a debt from Quest Diagnostics.

    15.    Some time there after the debt was transferred to CCS for collection.

    16.    On April 20, 2017 Ms. Steele received a collection notice letter informing

    her that her account had been transferred to CCS for collection. (Ex. 2).

    17.    The collection noticed informed her that she had 30 days to dispute the

    validity of the debt. Specifically, it read in part:

          “FEDERAL LAW: Unless you notify this office within 30 days after
          receiving this notice that you dispute the validity of this debt, or any
          portion there of, this office will assume this debt is valid. If you notify
          this office in writing within 30 days from receiving this notice that
          you dispute the validity of this debt, or any portion thereof, this office




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          will obtain verification of the debt or obtain a copy of judgment and
          mail you a cope of such judgment or verification. If you request of
          this office in writing within 30 days after receiving this notice, this
          office will provide you with the name and address of the original
          creditor, if different from the current creditor.” (Id.)

    18.   In the same letter granting Ms. Steele the right to dispute the validity of

    the debt alleged owed CCS request payment overshadowing the right to dispute

    the validity of the debt.




    19.   On May 11, 2017 twenty-one (21) days after its initial “Notice of

    Collection” CCS dispatched a second letter once again requesting payment of the

    alleged debt overshadowing the Federally mandated 30-day validation period.

    (Ex. 2).

    20.   On June 1, 2017 counsel issued a demand letter in compliance with




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    Georgia’s ante litem requirement pursuant the Georgia Fair Business Practices

    Act informing CCS of representation effectively issuing a cease and desist. (Ex.

    5.).

    21.       The letter was dispatched using United States Postal Service (“USPS”)

    Certified mail with tracking No. 7016 0600 000 6014 9545. (Ex. 3).

    22.       On June 8, 2017 a representative from CCS, Compliance Paralegal, Varian

    MacCellon contacted Plaintiffs’ counsel requesting additional time to respond.

    Plaintiffs’ counsel obliged with a 5-day extension in order to facilitate amicable

    resolution prior to filing.

    23.       To date of this filing all attempts to arrive at an amicable resolution have

    failed.

                  C. PLAINTIFF SUFFERED ACTUAL DAMAGES

    24.       The Plaintiff has suffered and continues to suffer actual damages as a

    result of the Defendants’ unlawful conduct.

    25.       As a direct consequence of the Defendants’ acts, practices and conduct,

    the plaintiff suffered and continues to suffer from humiliation, anger, anxiety,

    emotional distress, fear, frustration and embarrassment.

    26.       The Defendants’ conduct was so outrageous in character, and so




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    extreme in degree, as to go beyond all possible bounds of decency and to be

    regarded as atrocious, and utterly intolerable in a civilized community.



                                      COUNT I

             VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

    27.     The Plaintiff incorporates by reference all of the above paragraphs of

    this complaint though fully stated therein.

    28.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that

    Defendants engaged in behavior the natural consequence of which was to

    harass, oppress or abuse the Plaintiff in connection with the collection of the

    debt.

    29.     The Defendants’ conduct violated 15 U.S.C. § 1692e(2)(A) in that the

    Defendant is unable to validate the debt and falsely represented the character

    in amounts and status of the debt.

    30.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

    Defendants employed false and deceptive means to collect a debt.

    31.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that the

    Defendants used unfair and unconscionable means to collect a debt.




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    32.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that

    Defendants failed to send Plaintiff an initial letter within five days of its

    initial contact with Plaintiff.

    33.    The Defendants’ conduct violated 15 U.S.C. § 1692f(b) In that the

    Defendants failed Plaintiff a 30-day validation period by which Plaintiff

    could dispute the validity of the alleged debt.

    34.    The foregoing acts and omissions of Defendants continue numerous in

    multiple violations of the FDCPA, including every one of the above cited

    provisions.

    35.    The Plaintiff is entitled to damages as a result of Defendants’

    violations.

                                      COUNT II

      VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES

                          ACT, O.C.G.A. § 10-1-391, et seq.

    36.    The Plaintiff incorporates by all reference all of the above paragraphs

    of this complaint as the fully stated therein.

    37.    The Plaintiff is a “consumer” as a term is defined by O.C.G.A. § 10-1-

    392(6).




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    38.   The Plaintiff incurred debt as a result of engaging into “[c]onsumer

    transactions” as a term is defined by O.C.G.A. § 10-1-392(10).

    39.   The Defendant used unfair or deceptive acts to collect the debt incurred

    in commerce, in violation of O.C.G.A. § 10-1-393(a).

    40.   The Plaintiff suffered mental anguish, emotional distress and in an

    amount to be proven at trial.

    41.   Defendants’ failure to comply with these provisions constitutes an

    unfair or deceptive act buy under O.C.G.A. § 10-1-393(a) and, as such, the

    Plaintiff is entitled to damages plus reasonable attorney’s fees.

                              PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against

defendants:

1.        Actual damages pursuant went to 15 U.S.C. § 1692(k)(a)(1) and

O.C.G.A. § 10-1-399(a) against defendants;

2.        Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692(k)(2)(a)

against Defendants;

3.        Treble damages pursuant to O.C.G.A. § 10-1-399(c) against Defendants;




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4.       Cost of litigation and reasonable attorneys fees pursuant to 15 U.S.C. §

1692(k)(a)(3) and O.C.G.A. § 10-1-399(d) against Defendants;

5.       Actual Damages from Defendants for all damages including emotional

distress suffered as a result of intentional, reckless, and/or negligent FDCPA

violations and intentional, recklessness, and/or negligent invasions of privacy in an

amount to be determined at trial for the Plaintiff;

6.       Punitive damages pursuant to O.C.G.A. § 10-1-399(a) against Defendants.

7.        As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1)(A)(iii),

Plaintiff is entitled to recover a minimum of $500.00 for each call in violation

of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

    8.    Accordingly, pursuant to 47 U.S.C. § 227(b)(3)(C), Defendant’s

    knowing and/or willful violations of the TCPA entitles Plaintiff to triple the

    amount of damages to which Plaintiff is otherwise entitled under 47 U.S.C. §

    227(b)(3)(B); and

7.        Such other and further relief as maybe just and proper.




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              TRIAL BY JURY DEMAND ON ALL COUNTS

Dated: 06/20/2017

                      Respectfully submitted,

                            /S/ David A. Prado
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